Case 4:11-cv-00655-ALM Document 409 Filed 01/19/17 Page 1 of 2 PageID #: 8460




                         IN THE UNITED STATED DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

SECURITIES AND EXCHANGE COMMISSION                           §
Plaintiff,                                                   §
                                                             §
                                                             §
                                                             §
v.                                                           §    Civil Action No. 4:11-cv-655
                                                             §
                                                             §
JAMES G. TEMME, and                                          §
STEWARDSHIP FUND, LP,                                        §
Defendants.                                                  §

 ORDER GRANTING RECEIVER’S FINAL APPLICATION TO ALLOW AND PAY (1)
 RECEIVER’S FEES AND EXPENSES; AND (2) ATTORNEYS’ FEES AND EXPENSES

            CAME ON FOR CONSIDERATION the Receiver’s Final Application to Allow and Pay

(1) Receiver’s Fees and Expenses; and (2) Attorneys’ Fees and Expenses (the “Application”),

which requests reimbursement for fees incurred for the time period from January 1, 2016 through

December 31, 2016.         The Receiver seeks to pay Bryan Cave LLP (“BC”) $31,312.99,

representing $30,269.00 in fees and $1,043.99 in expenses for the time period from January 1,

2016 through December 31, 2016.

            No opposition has been filed to this Application. Counsel for the Commission has

reviewed the fee application and been afforded the opportunity to object, but does not object to

the relief sought. Based upon a review of the Application and the pleadings on file, the Court

finds and concludes that (a) the relief requested in the Application is in the best interests of the

Receiver and his receivership estates; (b) proper and adequate notice of the Application has been

given and that no other or further notice is necessary; and (c) good and sufficient cause exists for

the granting of the relief requested in the Application after having given due deliberation upon



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    Case 4:11-cv-00655-ALM Document 409 Filed 01/19/17 Page 2 of 2 PageID #: 8461




    the Application and all of the proceedings had before the Court in connection with the

    Application. Therefore, it is hereby ORDERED that:

                i.     The Application is GRANTED.

                ii.    The Court approves, the fees ($30,269.00) and expenses ($1,043.99) incurred by

    the Receiver from January 1, 2016 through December 31, 2016.
.
                iii.   The Receiver is authorized to immediately pay BC the total sum of $31,312.99,

                       representing $30,269.00 in fees and $1,043.99 in interim expenses for the time

                       period from January 1, 2016 through December 31, 2016.

            SIGNED this 19th day of January, 2017.




                                           ___________________________________
                                           AMOS L. MAZZANT
                                           UNITED STATES DISTRICT JUDGE




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